Case 3:03-cr-00210-BTM       Document 674        Filed 07/12/07     PageID.4620       Page 1 of 2



  1
  2
  3
  4
  5
  6
  7
  8                            UNITED STATES DISTRICT COURT
  9                         SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    ROBERT MADRID,                                        CASE NO. 07cv1214 BTM
                                                                      03cr210 BTM
 12                                      Petitioner,
              vs.                                            ORDER DISMISSING
 13                                                          PETITIONER’S MOTION
       UNITED STATES OF AMERICA,                             PURSUANT TO 28 U.S.C. § 2255
 14
                                       Respondent.
 15
 16          On July 2, 2007, Petitioner filed a motion under 28 U.S.C. § 2255 for the limited
 17   purpose of challenging the 4-point enhancement he received pursuant to Sentencing
 18   Guideline §3B1.1 for his role in the offense. Petitioner argues that the Court erred in finding
 19   that he was a supervisor of more than just a “small enterprise.”
 20          As the Court indicated in its June 21, 2007 order denying Petitioner’s request to file
 21   this motion late, Petitioner waived his “right to appeal or to collaterally attack [his] conviction
 22   and sentence” as part of his plea agreement. (See Feb. 14, 2005 Plea Agreement at 11-12;
 23   Doc. #512.) Petitioner has failed to offer any explanation as to why this waiver does not bar
 24   the present motion. A waiver of appeal and/or collateral attack of a conviction is enforceable
 25   if voluntarily made. United States v. Pruitt, 32 F.3d 431, 433 (9th Cir. 1994). Petitioner has
 26   made no argument that his execution of the plea agreement was involuntary and, in fact,
 27   Petitioner specifically acknowledged at his sentencing that he was voluntarily waiving his
 28   right to appeal and collaterally attack his sentence. (See Transcript of June 22, 2006


                                                       1                                         07cv1214
Case 3:03-cr-00210-BTM      Document 674      Filed 07/12/07    PageID.4621      Page 2 of 2



  1   Sentencing Proceedings at 121.) Accordingly, the Court will enforce Petitioner’s waiver and
  2   deny his motion.
  3         Based upon a review of Petitioner’s motion, pursuant to Rule 4(b) of the Rules
  4   Governing Section 2255 Proceedings, this Court finds that Petitioner is plainly not entitled
  5   to relief. Therefore, the motion is DISMISSED.
  6
  7   IT IS SO ORDERED.
  8
  9   DATED: July 12, 2007
 10
 11                                              Hon. Barry Ted Moskowitz
                                                 United States District Judge
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28


                                                   2                                       07cv1214
